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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

   IN RE: AUTOMOTIVE PARTS                       Master File No. 12-md-02311
   ANTITRUST LITIGATION
                                                 Honorable Sean F. Cox
   ____________________________________
                                                 2:12-md-02311-SFC-RSW
   ALL PARTS                                     2:12-cv-00500-SFC-RSW
   ____________________________________          2:12-cv-00501-SFC-RSW
                                                 2:12-cv-00502-SFC-RSW
   THIS RELATES TO:                              2:12-cv-00503-SFC-RSW
                                                 2:14-cv-12095-SFC-RSW
   ALL CASES                                     2:15-cv-12068-SFC-RSW




                           ORDER GRANTING MOTION
                    TO WITHDRAW JAMES F. LERNER AS COUNSEL


        WHEREAS, James F. Lerner, an attorney at Winston & Strawn LLP, which represents

 Defendants NTN Corporation, NTN USA Corporation, NTN-SNR Roulements SA, and NTN

 Wälzlager (Europa) GmbH, has departed from the law firm of Winston & Strawn LLP;

        WHEREAS, Mr. Lerner requested that the Court enter an order allowing him to withdraw

 as counsel in the following actions:

               2:12-md-02311-SFC-RSW (Automotive Parts Antitrust Litigation)
               2:12-cv-00500-SFC-RSW (Bearings – Lead Case)
               2:12-cv-00501-SFC-RSW (Bearings – Direct Purchaser Action)
               2:12-cv-00502-SFC-RSW (Bearings – Automobile Dealership Action)
               2:12-cv-00503-SFC-RSW (Bearings –End-Payor Action)
               2:14-cv-12095-SFC-RSW (Bearings – State Attorneys General Action)
               2:15-cv-12068-SFC-RSW (Bearings – DALC Gear & Bearing Supply Corp. v.
                Koyo France SA)
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        WHEREAS, other counsel of record will continue to appear as counsel on behalf of the

 above-named Defendants in those actions;

        WHEREAS, Mr. Lerner’s withdrawal will not cause any delay in the progress of those

 actions;

        IT IS HEREBY ORDERED that Mr. Lerner be permitted to withdraw as counsel for the

 above-named Defendants in the above actions.

 Dated: February 25, 2021                        s/Sean F. Cox
                                                 Sean F. Cox
                                                 U. S. District Judge
